Case 1:09-Cv-00597-LI\/|B-TCB Document 41-15 Filed 10/23/09 Page 1 of 2 Page|D# 746

EXHIBIT N

ease 1:09-cv-00597-Lr\/iB-TCB Documem 41-15 Fiied 10/23/09 Page 2 of 2 Pagi)el# wait

Roth, Me|issa R.

From: isabel M Humphrey [isabei@hhylaw.com]
Sent: Wednesday, October 14, 2009 2149 PlVl
To: Dici<insonl i'viiche||e J.

Subject: RE: NE| |aptop

N|iche||e, we are not comfortable continuing to hold onto NEi's iaptop. i repeatedly tried to get instructions from
you to return it. and you would not give me the name of someone at NEI authorized to accept it. You said you
would send a computer consultant last week to pick it up, but we have heard nothing. We just sent a staff
member downstairs to NEl's office to return itl and they refused to accept it. lf you don‘t make other
arrangements by the end of today, we will put the laptop in a FedEx box and ship it to you.

in the meantimel Joe has contacted police regarding NEi's continued refusal to return his iaptop.

isabel |Vi. Humphrey, Esq.

HUNTER, HUNiPHREY 8. YAV|TZ, PLC
2633 E indian Schoo| Rd, #440
Phoenix, Arizona 85016

Telephone: 602-275-7733 x‘iOB
Direct Fax: 480-452-1374
isabel@hhy|aw.com
www.hhy|aw.com

NOTiCE: This e-mail may contain confidential and privileged material for the sole use of the

intended recipient. Any review or distribution by others is strictly prohibited if you are not the
intended recipient, please contact the sender and delete and destroy all copies Thank you.

10/23/2009

